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IN: THE UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF VIRGINIA

Alexandria Division -

Criminal No.: 1:19-59

UNITED STATES OF AMERICA )
: } J :
Vv. ) Filed In Camera and
) Under Seal with the Classified
DANIEL EVERETTE HALE, ) Information Security Officer
)
)

Defendant.

|} GOVERNMENT’S MOTION TO SUSPEND CIPA SCHEDULE AND REQUIRE
DEFENDANT TO FILE A REVISED CIPA SECTION 5 NOTICE

 
